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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  STINGRAY IP SOLUTIONS LLC,                       §
                                                   §
          Plaintiff,                               §
                                                   §
  v.                                               §       CASE NO. 2-22-cv-00420-JRG-RSP
                                                   §                 (Lead Case)
  RESIDEO TECHNOLOGIES, INC. and                   §
  ADEMCO INC.,                                     §
                                                   §
           Defendants.                             §

       PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Stingray IP Solutions LLC (“Stingray”) files this First Amended Complaint in this

 Eastern District of Texas (the “District”) against Defendants Resideo Technologies, Inc. and

 Ademco Inc. (collectively, “Defendants” or “Resideo”) for infringement of U.S. Patent No.

 7,224,678 (the “’678 patent”), U.S. Patent No. 7,440,572 (the “’572 patent”), and U.S. Patent No.

 7,441,126 (“the “’126 patent”).

                                          THE PARTIES

         1.      Stingray IP Solutions, LLC (“Stingray” or “Plaintiff”) is a Texas limited liability

 company, located at 6136 Frisco Sq. Blvd., Suite 400, Frisco, TX 75034.

         2.      On information and belief, Defendant Resideo Technologies, Inc. (“Resideo”) is a

 corporation formed and organized under the laws of Delaware with its principal executive offices

 and corporate headquarters located at 16100 N. 71st Street, Suite 550, Scottsdale, Arizona. Resideo

 is registered to do business in Texas. See TEXAS SECRETARY OF STATE, https://direct.sos.state.tx.us/

 at Filing No. 804269474 (showing Resideo’s application for registration to do business as a foreign

 corporation in Texas) (last visited Oct. 4, 2022). Resideo’s registered agent in Texas is Corporation

 Service Company located at 211 E. 7th Street, Suite 620, Austin, TX 78701-3128.



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        3.      On information and belief, Defendant Ademco Inc. (“Ademco”) is a corporation

 formed and organized under the laws of Delaware with its principal place of business at 115 Tabor

 Rd. Morris Plaints, NJ 07950. Ademco is registered to do business in Texas and maintains

 Corporation Service Company located at 211 E. 7th Street, Suite 620, Austin, TX 78701-3128 as

 its registered agent. See TEXAS SECRETARY OF STATE, https://direct.sos.state.tx.us/ at Filing No.

 803012625 (showing Ademco’s 2021 Public Information Report in Texas) (last visited Oct. 4,

 2022). Ademco is a wholly-owned subsidiary of Resideo.

        4.      In about October of 2018, Honeywell International Inc. completed a spin-off of its

 “Home” business into a new company—Resideo Technologies, Inc., which is a defendant in this

 action. Defendant Resideo became a public company, trading under the ticker symbol “REZI” of

 the New York Stock Exchange. Resideo describes itself as “a leading global manufacturer and

 developer of technology-driven products and solutions that provide critical comfort, residential

 thermal and security solutions to over 150 million homes globally” and also “the leading wholesale

 distributor of low-voltage security products including intrusion, access control and video products

 and participate significantly in the broader related markets of smart home, fire, power, audio,

 ProAV, networking, communications, wire and cable, enterprise connectivity, and structured wiring

 products.” Resideo 2021 Annual Report, at “Form 10-K”, available for download at

 https://investor.resideo.com/financials/annual-reports/default.aspx (last visited Oct. 3, 2022).

 Defendant Resideo operates via two business segments: “Products & Solutions” and “ADI Global

 Distribution.” Id. at 4 (citations are to the document’s internal pagination).

        5.      Resideo’s Products & Solutions segment offers “temperature and humidity control,

 thermal water and air solutions, as well as security panels, sensors, peripherals, wire and cable,

 communications devices, video cameras, awareness solutions, cloud infrastructure, installation and




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 maintenance tools, and related software.” Resideo 2021 Annual Report at 4. These products offer

 “home connectivity” that provide “control, visibility, insights, and alerts to the end user.” The

 Products & Solutions segment “operate[s] manufacturing and distribution facilities throughout the

 world, including sites in Mexico, Czech Republic, Hungary, the United States, Germany, United

 Kingdom, Netherlands and China.” Resideo 2021 Annual Report at 5. This segment’s revenue is

 derived in significant part “from products manufactured in [Resideo’s] own facilities.” Id. And

 “manufacturing operations include printed circuit board (PCB) assembly, surface mount

 technologies (SMT), automatic and manual assembly and test, electrotechnical assembly and test,

 die casting and machining, calibration and final test.” Id. Resideo also sources “raw materials and

 commodities, electronic components and assemblies, and mechanical components and assemblies

 from a wide range of third-party suppliers worldwide.” Id. The Products & Solutions segment

 primarily sells Resideo’s products “through a network of professional contractors, distributors,

 OEMs, retailers and online merchants.” Id. at 10.

        6.      Resideo’s ADI Global Distribution segment utilizes “nearly 200 stocking locations

 in 16 countries” to “distributes[] more than 350,000 products from over 1,000 manufacturers to a

 customer base of over 100,000 contractors and is recognized for superior customer service.”

 Resideo 2021 Annual Report at 4. This segment distributes products, including Resideo’s own

 products, from “industry-leading manufacturers and carries a line of private label products.” These

 products are “delivered through a comprehensive network of professional contractors, distributors

 and OEMs, as well as major retailers and online merchants.” Id. at 28. Fourteen percent (14%) of

 the segment’s net revenue comes from the sale of products from Resideo’s Products & Solutions

 segment. Id.




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         7.       On information and belief, Defendant Ademco registered to use “Resideo” as an

 assumed name at least with the Secretary of State of Texas, and also does business in the U.S. as

 “ADI Global Distribution,” also referred to as “ADI.” See, e.g., Standard Terms and Conditions,

 ADI,   A RESIDEO COMPANY,     https://www.adiglobaldistribution.us/TermsAndConditionsPage (last

 visited Oct. 4, 2022) (“All sales by Ademco Inc., doing business as ADI Global Distribution

 (“Seller”), are expressly conditioned by and under these terms and conditions….”).

         8.       Among Resideo’s products, Resideo designs, manufactures, distributes, and sells

 products that specialize in smart home technology, including “air and temperature control solutions,

 security products, water monitoring product and energy solutions.” See Resideo, ADI, A RESIDEO

 COMPANY,       https://www.adiglobaldistribution.us/Catalog/shop-brands/resideo (summarizing the

 Resideo brand product offerings) (last visited Oct. 4, 2022). These products communicate with each

 other using network protocols, including 802.11-based protocols (referred to commonly as “Wi-

 Fi”). For example, Resideo offers “smart thermostats, programmable thermostats, non-

 programmable thermostats, air purifiers, humidifiers, [and] ventilation controls” as air and

 temperature solutions.” Resideo also offers “door and window contacts, alarm communicators and

 control panels, security cameras, smoke detectors, heat detectors, CO detectors, [and] wireless

 keys” as security solutions. And Resideo offers “leak detectors, freeze detectors, water heater

 solutions, [and] hydronic zoning panels” as water safety solutions. Among power or energy

 solutions products, Resideo offers “smart thermostats, HVAC components and other home system

 essentials.”

         9.       On information and belief, Defendants on their own and/or via subsidiaries,

 distributors, and affiliates maintain a corporate and commercial presence in the United States,

 including in Texas and this District. Defendants maintain their business presence in the U.S. and




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 Texas via at least the following activities: 1) providing branch locations across the U.S. (including

 six in Texas) where consumers may pick-up purchased products; 2) maintaining an online presence

 (https://www.resideo.com/us/en/products/,       https://www.adiglobaldistribution.us/Catalog/shop-

 brands/resideo, and https://www.honeywellhome.com/us/en) that solicits sales of Resideo products

 under at least the Resideo® and Honeywell HomeTM brands; 3) distributing, via wholesale and retail

 channels, Resideo’s products and services, including utilizing national retailers in this District; 4)

 providing to U.S. consumers the “Resideo App,” the “Total Connect Comfort app” and the “ADI

 mobile app” (among other app software) for accessing product information, connecting to Wi-Fi

 networks, purchasing products, and other services related to Resideo products; 5) establishing a

 network of distributors, dealers, and qualified expert installers for the sale and use of Resideo

 products across the U.S.; and 6) employment of at least 3,300 persons in the United States, including

 residents of Texas and this District. For example, Defendants employ Texas residents in at least

 five (5) business locations in the Dallas / Fort Worth area, including at 12880 Valley Branch Lane

 Farmers Branch, TX 75234 (branch location); 5036 Saunders Rd., Fort Worth, TX 76119 (branch

 location), 750 W John Carpenter Freeway, Irving, TX, 75039, 346 Beltline Rd Unit 100, Coppell,

 TX, 75019, and 2601 Petty Place, Fort Worth, TX, 76177. See, e.g., Why Join Us,             RESIDEO,

 https://www.resideo.com/us/en/corporate/about/careers (providing a link to Resideo’s job search

 portal, which identifies where Resideo is hiring). Thus, Defendants Resideo and Ademco do

 business in the United States, the state of Texas, and in the Eastern District of Texas.

                                  JURISDICTION AND VENUE

        10.     This action arises under the patent laws of the United States, namely 35 U.S.C. §§

 271, 281, and 284-285, among others.

        11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 1338(a).


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         A.      Defendant Resideo
         12.     On information and belief, Defendant Resideo is subject to this Court’s specific and

 general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at

 least to its substantial business in this State and this District, including: (A) at least part of its

 infringing activities alleged herein, including its registration to do business in Texas, which

 purposefully avail the Defendant of the privilege of conducting those activities in this state and this

 District and, thus, submits itself to the jurisdiction of this court; and (B) regularly doing or soliciting

 business, engaging in other persistent conduct targeting residents of Texas and this District, and/or

 deriving substantial revenue from infringing goods offered for sale, sold, and imported and services

 provided to and targeting Texas residents and residents of this District vicariously through and/or

 in concert with its alter egos, intermediaries, agents, distributors, importers, customers, subsidiaries,

 affiliates, and/or consumers.

         13.     For example, Resideo owns and/or controls multiple, subsidiaries, distributors, and

 affiliates including, but not limited to, Defendant Ademco. Ademco operates in the U.S. and in

 Texas under the assumed name “Resideo” and is also known as ADI Global Distribution or ADI.

 Resideo maintains a significant business presence in Texas by employing residents in at least six

 (6) branch locations where consumers may purchase and pick-up merchandise and other

 warehousing/distribution facilities, including locations in Austin, Houston, San Antonio, and the

 Dallas/Fort    Worth    Area.    See,    e.g.,   Branch    Locator,    ADI,    A   RESIDEO     COMPANY,

 https://www.adiglobaldistribution.us/dealerlocator (providing a search function for consumers to

 find branch locations in the U.S. and Texas). Resideo, via at least the operations of its ADI Global

 Distribution business segment, owns or leases a logistics and distribution facility in this District at

 2601 Petty Place, Fort Worth, TX, 76177. See Property Search Results > 1-7 of 7 for Year 2022,

 DENTON        CAD,      https://propaccess.trueautomation.com/clientdb/SearchResults.aspx?cid=19


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 (Search results for “Ademco” as owner) (last visited Oct. 4, 2022). Importantly, Resideo maintains

 its own employees or agents at this facility to conduct its business of at least distribution of Resideo

 products.                                           See,                                           e.g.,

 https://ehtl.fa.us6.oraclecloud.com/hcmUI/CandidateExperience/en/sites/CX_2/requisitions/previe

 w/10237/?location=Coppell%2C+TX%2C+United+States&locationId=300000002483784&locati

 onLevel=city&mode=location&radius=25&radiusUnit=MI (showing a “Sr Human Resources

 Business Partner” position open for hiring at the 2601 Petty Place location) (last visited Oct. 4,

 2022).

          14.    Such a corporate and commercial presence by Defendant Resideo furthers the

 development, design, manufacture, importation, distribution, and sale of Defendant’s infringing

 electronic devices in Texas, including in this District. Through utilization of its business segments

 and the direction and control of its subsidiaries and affiliates, Resideo has committed acts of direct

 and/or indirect patent infringement within Texas, this District, and elsewhere in the United States,

 giving rise to this action and/or has established minimum contacts with Texas such that personal

 jurisdiction over Resideo would not offend traditional notions of fair play and substantial justice.

          15.    On information and belief, Resideo controls or otherwise directs and authorizes all

 activities of its subsidiaries, distributors, and affiliates, including, but not limited to Defendant

 Ademco, which, significantly, have substantial business operations in Texas. Directly and via at

 least these subsidiaries, distributors, and/or affiliates and via intermediaries, such as resellers,

 dealers, expert installers, and customers, Resideo has placed and continues to place infringing

 electronic devices, including Resideo’s smart home devices, such as Resideo® and Honeywell

 HomeTM branded devices, into the U.S. stream of commerce. Resideo has placed such products into

 the stream of commerce with the knowledge and understanding that such products are, will be, and




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 continue to be sold, offered for sale, and/or imported into this District and the State of Texas. See

 Litecubes, LLC v. Northern Light Products, Inc., 523 F.3d 1353, 1369-70 (Fed. Cir. 2008) (“[T]he

 sale [for purposes of § 271] occurred at the location of the buyer.”); see also Semcon IP Inc. v.

 Kyocera Corporation, No. 2:18-cv-00197-JRG, 2019 WL 1979930, at *3 (E.D. Tex. May 3, 2019)

 (denying accused infringer’s motion to dismiss because plaintiff sufficiently plead that purchases

 of infringing products outside of the United States for importation into and sales to end users in the

 U.S. may constitute an offer to sell under § 271(a)).

        16.     On information and belief, Defendant Resideo also purposefully places infringing

 smart home devices in established distribution channels in the stream of commerce by contracting

 with national retailers who sell Resideo’s products in the U.S. via online and brick and mortar

 stores, including in Texas and this District. Resideo contracts with these companies with the

 knowledge and expectation that Resideo’s smart home devices will be imported, distributed,

 advertised, offered for sale, and sold in the U.S. market. For example, at least Best Buy, Walmart,

 Home Depot, Lowes, Target, and Amazon.com offer for sale and sell Resideo smart home devices,

 in and specifically for the U.S. market, via their own websites or retail stores located in and selling

 their products to consumers in Texas and this District. See, e.g., Find A Resideo Retailer Near You,

 RESIDEO,   https://www.resideo.com/us/en/find-a-retailer/ (showing where the Resideo’s products

 are sold) (last visited Oct. 4, 2022). Moreover, Resideo products, such as at least Honeywell

 HomeTM branded products are offered for sale and sold in retail stores located in this District. See,

 e.g., T9 WiFi 7-Day Programmable Smart Thermostat with Touchscreen Display and Smart Room

 Sensor, HOME DEPOT, https://www.homedepot.com/p/Honeywell-T9-WiFi-7-Day-Programmable-

 Smart-Thermostat-with-Touchscreen-Display-and-Smart-Room-Sensor-

 RCHT9610WFSW2003/312604036 (showing Resideo’s Honeywell Home product available for




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 sale in Frisco). Resideo also provides its application software products and services, e.g., the

 “Resideo App,” the “Total Connect Comfort App,” and the “Total Connect 2.0 App” for download

 and use in conjunction with and as a part of smart home devices. See Applications for Your

 Connected Products,     RESIDEO,   https://www.resideo.com/us/en/apps/ (listing available Resideo

 apps) (last visited Oct. 4, 2022). Resideo’s apps are available via digital distribution platforms

 operated by Apple Inc. and Google. Id.

         17.     Based on Defendant Resideo’s connections and relationship with its distributors,

 subsidiaries, including its wholly owned subsidiary Ademco, resellers, contractors, dealers,

 installers, local and U.S.- based national retailers, and digital distribution platforms, Resideo knows

 that Texas is a termination point of the established distribution channel for the sale and use of

 Resideo smart home products and related software to consumers in Texas. Resideo, therefore, has

 purposefully directed its activities at Texas, and should reasonably anticipate being brought in this

 Court, at least on this basis. See Icon Health & Fitness, Inc. v. Horizon Fitness, Inc., 2009 WL

 1025467, at (E.D. Tex. 2009) (finding that “[a]s a result of contracting to manufacture products for

 sale in” national retailers’ stores, the defendant “could have expected that it could be brought into

 court in the states where [the national retailers] are located”).

         18.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(c) and 1400(b). As

 alleged herein, Defendant Resideo has committed acts of infringement in this District. As further

 alleged herein, Defendant Resideo, via its own operations and employees located there and via

 ratification of Defendant Ademco’s (i.e., ADI) presence and activities, including as an agent and

 alter ego of Resideo, has a regular and established place of business, in this District. Resideo’s

 regular and established place of business is at 2601 Petty Place, Fort Worth, TX, 76177, which




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  according to publicly available records is located in Denton County. Accordingly, Resideo may be

  sued in this district under 28 U.S.C. § 1400(b).

          B.      Defendant Ademco
          19.     On information and belief, Defendant Ademco is subject to this Court’s specific and

  general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at

  least to its substantial business in this State and this District, including: (A) at least part of its

  infringing activities alleged herein which purposefully avail the Defendant of the privilege of

  conducting those activities in this state and this District and, thus, submits itself to the jurisdiction

  of this court; and (B) regularly doing or soliciting business, engaging in other persistent conduct

  targeting residents of Texas and this District, and/or deriving substantial revenue from infringing

  goods offered for sale, sold, and imported and services provided to and targeting Texas residents

  and residents of this District vicariously through and/or in concert with its alter egos, intermediaries,

  agents, distributors, importers, customers, subsidiaries, and/or consumers. For example, Ademco is

  registered to do business in Texas, including registration to use the name “Resideo,” which is the

  same name of its parent Resideo Technologies, Inc. Moreover, Ademco, including as an alter ego

  of parent company Resideo, owns and operates a logistics/ distribution facility where employees

  and/or agents of Defendants work to store, distribute, and sell Resideo products, including related

  administration of the business. This facility is located in Denton County at 2601 Petty Place, Fort

  Worth, TX, 76177.

          20.     Defendant Ademco further is responsible for importing, shipping, distributing,

  selling, offering for sale, delivering, and using Resideo’s smart home devices, including Resideo®

  and Honeywell HomeTM branded products and purposefully placing infringing smart home devices

  in established distribution channels in the stream of commerce in the U.S., including in Texas and

  this District. For example, Ademco, in concert with Resideo as part of the ADI Global Distribution


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  segment, distributes its products to residents of Texas and this District, via distributors, professional

  contractors, original equipment manufacturers, dealers, retailers, and online merchants (including

  its      own     online     store).     See      Resideo,      ADI,      A      RESIDEO      COMPANY,

  https://www.adiglobaldistribution.us/Catalog/shop-brands/resideo (showing Resideo products

  offered for sale via ADI’s website) (last visited Oct. 4, 2022). Moreover, Ademco provides branch

  locations where residents of Texas and this District “shop and pick up anytime at an ADI locker”

  Resideo products sold to consumers via ADI’s website. See Shop Online, Pick Up Anytime, ADI, A

  RESIDEO COMPANY,       https://www.adiglobaldistribution.us/pick-up-anytime (last visited Oct. 6,

  2022). Ademco also provides software applications such as the ADI app “for the easiest, fastest,

  access to products, account information and more.” See Access ADI Wherever You Go, ADI, A

  RESIDEO COMPANY,     https://www.adiglobaldistribution.us/adi-app (advertising that the app “makes

  browsing and shopping low-voltage products easier than ever”). Defendant Ademco, therefore, has

  purposefully directed its activities at Texas, and should reasonably anticipate being brought in this

  Court.

           21.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(c) and 1400(b). As

  alleged herein, Defendant Ademco has committed acts of infringement in this District and has one

  or more regular and established places of business in this District, including the location listed above

  in Denton county. One such regular and established place of business is the Ademco facility located

  at 2601 Petty Place, Fort Worth, TX, 76177, which Resideo and Ademco jointly utilize, via their

  employees and/or agents, to store, distribute, and sell Resideo products in this District, Texas, and

  the U.S. Accordingly, Defendant Ademco may be sued in this district under 28 U.S.C. § 1400(b).




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         22.     On information and belief, Defendants Resideo and Ademco each have significant

  ties to, and presence in, the State of Texas and the Eastern District of Texas, making venue in this

  District both proper and convenient for this action.

                       THE ASSERTED PATENTS AND TECHNOLOGY

         23.     The Asserted Patents cover various aspects of monitoring, detecting intrusions, and

  encrypting and decrypting wireless communications networks, including networks created between

  Defendants’ smart home devices.

         24.     The ’678 patent involves detecting intrusions into a wireless local or metropolitan

  area network. The disclosed intrusion detection techniques include monitoring transmission

  between stations of the network, where each station has its own media access layer (MAC) address.

  The monitoring is done to detect failed attempts to authenticate the MAC addresses. Upon detection

  of a number of failed attempts to authenticate, an intrusion alert may be generated.

         25.     The ’572 patent involves providing secure wireless local area networks (LAN). A

  device for securing such a LAN may include a housing with a wireless transceiver carried by the

  housing. A medium access controller (MAC) also carried by the housing. A cryptography circuit

  may be connected to the MAC controller and the transceiver. The circuit may encrypt both address

  and data information by at least adding a plurality of encrypting bits to be transmitted. And the

  cryptography circuit may decrypt both address and data information upon reception.

         26.     The ’126 patent provides a secure wireless local area network (LAN) utilizing a

  LAN device. This device may include a housing that carries a wireless transceiver and, a media

  access controller (MAC). A cryptography circuit carried by the housing may be connected to the

  MAC and the wireless transceiver. And the cryptography circuit may comprise a volatile memory

  provided for storing cryptography information and may also comprise a battery provided for

  maintaining the cryptography information stored on the volatile memory.


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         27.     On information and belief, a significant portion of the operating revenue of

  Defendants is derived from the manufacture and sale of smart home devices. For example,

  Defendant Resideo utilizes its distributors, subsidiaries, including its wholly owned subsidiary

  Defendant Ademco, resellers, contractors, dealers, installers, retailers, and digital distribution

  platforms to provide smart home devices and related services to consumers. For the year 2020,

  Defendants reported $2.46 billion in (external) revenue for the Products & Solutions segment and

  the ADI Global Distribution segment reported $3.37 billion in external revenue with 14% of that

  supplied by the Products & Solutions segment. See Resideo 2021 Annual Report at 28, 32.

         28.     The Asserted Patents cover Defendants’ smart home products and components,

  software, services, and processes related to same that generally connect to other devices in a

  network or other networks using a wireless protocol, such as Wi-Fi (collectively referred to herein

  as    the    “Accused      Products”).    See     All   Smart     Home       Products,    RESIDEO,

  https://www.resideo.com/us/en/products/ (“From WiFi connected, smart and programmable

  thermostats to humidifiers, home ventilation and air purifiers, shop Resideo to take control of what

  supports your home in making you feel more at home.”) (last visited Oct. 4, 2022). Defendants’

  infringing Accused Products include, but are not limited to, devices enabled or compliant with Wi-

  Fi such as smart Wi-Fi connected and programmable thermostats and related kits, Wi-Fi security

  cameras, water leak & freeze detectors, Wi-Fi outdoor and indoor video cameras, video doorbells,

  security control panels and related accessories, including motion detectors, smoke detectors,

  communications modules. See id.

         29.     The Asserted Patents cover Accused Products of Defendants that utilize the Wi-Fi

  protocol. Examples of such products include Resideo’s smart home “Air Products” such as Wi-Fi

  enabled thermostats, as shown below.




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  WiFi Thermostats, RESIDEO, https://www.resideo.com/us/en/products/air/thermostats/wifi-
  thermostats/ (last accessed Oct. 5, 2022).




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         30.    The Defendants’ Wi-Fi Color Touchscreen Thermostat, which functions with

  Resideo’s Total Connect Comfort App, is shown as Wi-Fi (IEEE 802.11) compliant.




  WiFi Color Touchscreen Thermostat, RESIDEO,
  https://www.resideo.com/us/en/products/air/thermostats/wifi-thermostats/wifi-color-touchscreen-
  thermostat-rth9585wf1004-u/ (last accessed Oct. 5, 2022).

         31.    The Asserted Patents cover Accused Products of Defendants’ “Energy Wi-Fi

  Thermostats” which include products that are “WiFi connected [] to room sensors that constantly




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  monitor temperature.” For example, the WiFi 9000 Color Touchscreen Thermostat is shown as Wi-

  Fi enabled and is supported by Resideo’s Total Connect Comfort App.




  WiFi 9000 Color Touchscreen Thermostat, RESIDEO,
  https://www.resideo.com/us/en/products/energy/wifi-thermostats/wifi-9000-color-touchscreen-
  thermostat-th9320wf5003-u/ (last visited Oct. 5, 2022).




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         32.     Other examples of Defendants’ infringing products include Resideo’s smart home

  “Security Products” such as Wi-Fi security panels, cameras, and related kits, as shown below.




  Security Systems, RESIDEO, https://www.resideo.com/us/en/products/security/security-systems/
  (last visited Oct. 5, 2022).



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         33.    Resideo’s security kits, such as the “Gold Kit” shown below, include Wi-Fi enabled

  components—“Wi-Fi Water Leak Detectors, a C2 Wi-Fi Security Camera, and a T5 Smart

  Thermostat,” supported by the Resideo App.




  Gold Kit, RESIDEO, https://www.resideo.com/us/en/products/security/security-systems/gold-kit-
  smhomkit3/ (last visited Oct. 5, 2022).




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         34.    Resideo’s Security Products include Wi-Fi enabled “Intrusion Panels & Systems,”

  “Keypads,” and “Controllers,” such as the L7000 Lynx Touch 7000, L5210 Lynx Touch, and

  Tuxedow Tuxedo Touch ® and Smart Controller, each shown below.




  See           Intrusion           Panels             &             Systems,             RESIDEO,
  https://www.resideo.com/us/en/pro/products/security/intrusion-panels-systems/#first=12      (last
  visited       Oct.        5,         2022);         Security          Keypads,          RESIDEO,
  https://www.resideo.com/us/en/pro/products/security/keypads/ (last visited Oct. 5, 2022).




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         35.    Other Resideo “Security Products” that are Wi-Fi enabled are the LCP500-L Lyric®

  Controller Touchscreen Control Panel, the LKP500-EN Lyric® Keypad, the Prosixpir – Proseries

  Wireless Motion Detector, as shown below.




  See All-in-one-systems, resideo pro,
  https://www.resideo.com/us/en/pro/products/security/intrusion-panels-systems/all-in-one-
  systems/ (last visited Oct. 5, 2022); Security Keypads, RESIDEO PRO,
  https://www.resideo.com/us/en/pro/products/security/keypads/ (last visited Oct. 5, 2022);
  Prosixpir – Proseries Wireless Motion Detector, RESIDEO PRO,
  https://www.resideo.com/us/en/pro/products/security/proseries/security-and-safety/motion-
  sensor/prosixpir-proseries-wireless-motion-detector-prosixpir/ (last visited Oct. 5, 2022).



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           36.   Other examples of Defendants’ infringing products include Resideo’s smart home

  “Water Management Products” such as water leak & freeze detectors and related products, as shown

  below.




  Smart Home Water Management Products, RESIDEO,
  https://www.resideo.com/us/en/products/water/#first=12 (last visited Oct. 5, 2022).



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         37.    Resideo’s Wi-Fi Leak & Freeze Detector is shown as Wi-Fi enabled and is supported

  by the Resideo App, as shown below.




  Wi-Fi Leak & Freeze Detector, RESIDEO, https://www.resideo.com/us/en/products/water/spot-
  leak-detection/wifi-water-leak-freeze-detector-rchw3610wf1001-u/ (last visited Oct. 5, 2022).




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         38.    Resideo also provides video cameras and video doorbells that are Wi-Fi (IEEE

  802.11) compliant, e.g., the IPCAM-WIC2 HD Wi-Fi, IPCAM-WO2 HD Wi-Fi, and DBCAM-

  Trim2 Silver Trim 2 Wi-Fi Video Doorbell products shown below.




  Security Connected Cameras, RESIDEO,
  https://www.resideo.com/us/en/pro/products/security/video-cameras/connected-cameras/ (last
  visited Oct. 5, 2022).




  DBCAM-Trim2          Silver      Trim      2     WiFi        Video        Doorbell,  RESIDEO,
  https://www.resideo.com/us/en/pro/products/security/video-cameras/video-doorbells/dbcam-
  trim2-silver-trim-2-wifi-video-doorbell-dbcam-trim2/ (last visited Oct. 5, 2022).




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         39.     The Accused Products utilize intrusion detection methods for a local or metropolitan

  area network to infringe at least the ’678,’572, and ’126 patents. For example, the IEEE 802.11

  authentication methods utilized by the Accused Products include a TKIP-based method, as

  explained below, that uses a “MIC” to defend against active attacks.




         40.     Stations (STAs) in an IEEE 802.11 network of the Accused Products associate with

  each other using a robust security network association (RSNA). As described below, RSNA

  supports intrusion detection by employing authentication mechanisms and data frame protection


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  mechanisms (such as, temporal key integrity protocol – TKIP and CCMP) between the STAs. Data

  is exchanged between the STAs in the form of MPDUs (medium access control (MAC) protocol

  data units). The MAC frame (MPDU) comprises a MSDU (information frame) in the frame body,

  and four addresses that identify, among others, source MAC address (SA) and destination MAC

  address (DA) for the MSDU.




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         41.    In the TKIP method of the Accused Products, an MSDU transmitter STA calculates

  cryptographic message integrity code (MIC) using the MAC addresses (SA & DA) corresponding

  to the MSDU. As described below, the transmission is monitored if the MIC (which is obtained

  using the MAC addresses) is verified/authenticated at the receiver. MSDUs with invalid MICs are

  discarded and countermeasures are invoked.




         42.    The TKIP MIC implementation of the Accused Products prevents intrusion attacks,

  such as, message redirection by modifying destination/receiver MAC address (DA or RA) and

  impersonation by modifying the source/transmitter MAC address (SA or TA). As described below,

  the transmission is monitored if the MIC (which is obtained using the MAC addresses) is




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  verified/authenticated at the receiver. MSDU with an invalid MIC will indicate a modified MAC

  address (SA or DA), thereby resulting in discarding the MSDU and invoking the countermeasures.




         43.     Upon detecting a first MIC failure, as described below, a countermeasure timer is

  initiated, and a failure event (alert) is reported to the AP by sending a Michael MIC Failure Report

  frame. Upon detecting a second consecutive MIC failure within 60 seconds, i.e., detecting a number

  of failed attempts, the participating STAs are deauthenticated, wherein deauthentication involves




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  sending a notification (i.e., generating an alert) to deauthenticate due to an intrusion (2 consecutive

  MIC failures has occurred).




         44.     The Asserted Patents cover Resideo’s Wi-Fi compliant devices, which support

  WPA, WPA2 and WPA3 security mechanisms, as described below and in the following paragraphs.


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  The WPA mechanism is based on Temporal Key Integrity Protocol (TKIP), while the WPA2 and

  WPA3 are based on Counter Mode Cipher Block Chaining Message Authentication Code Protocol

  (CCMP).

         45.    Resideo configures its infringing smart home devices to not only connect to Wi-Fi

  compliant networks, but also to utilize authentication techniques such as WPA (TKIP) and WPA2

  (CCMP) for secure connections to those wireless networks. As shown below, Resideo’s T10 Pro

  Smart Thermostat is configured to connect to wireless networks via Wi-Fi.




  T10 Pro Smart Thermostat with Redlink Room Sensor, RESIDEO PRO,
  https://www.resideo.com/us/en/pro/products/air/thermostats/wifi-thermostats/t10-pro-smart-
  thermostat-with-redlinkr-room-sensor-thx321wfs2001w-u/#specifications (last visited Oct. 5,
  2022).




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         46.     As shown below, Resideo’s T10 Pro Smart Thermostat product is not only certified

  by the Wi-Fi Alliance for 802.11 a, b, g, and h connectivity, but also is certified to utilize security

  measures such as “WPA2 – Personal 2021-01” and “WPA-Personal” for 802.11 secure connections.




  Product Finder, WI-FI ALLIANCE, https://www.wi-fi.org/product-finder-
  results?subcategories=34 (listing certifications in the “Smart Home” category and providing a
  link to download Certification ID: WFA121299) (last accessed Oct. 5, 2022).




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         47.     Moreover, Resideo indicates in its “Troubleshooting” page that at least its smart

  home security and camera device products use “one of the following security protocols” including

  “WPA TKIP PSK,” WPA2 AES PSK,” and “WPA2 MIXED PSK”:




  My Wi-Fi Is Not Working On My Smart Home Security Or Camera Device, RESIDEO,
  https://www.honeywellhome.com/us/en/support/my-wi-fi-is-not-working-on-my-smart-home-
  security-or-camera-device/ (last visited Oct. 5, 2022).

         48.     As shown above, the Accused Products provide wireless connectivity utilizing the

  802.11 protocols at one or both of 2.4 GHz and/or 5 GHz Wi-Fi speeds. This capability ascertains

  the presence of a MAC controller, a Wi-Fi antenna, and a transceiver in the device and provides a

  secure wireless LAN.

         49.     The Accused Products further utilize a cryptography circuit that implements the

  802.11 protocols authentication techniques, including TKIP and CCMP. Shown below is a block

  diagram from the 802.11 protocol documentation showing the TKIP-based cryptography circuit

  (such as used with WPA) that is utilized in the Accused Products. The circuit shown encrypts both

  address (destination address (DA), source address (SA)) and data information (plaintext MSDU)

  by adding encryptions bits (MIC key) to both the address and data. The cryptography circuit of the

  Accused Products is also configured to decrypt the encrypted address and data information.


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         50.    Shown below is a block diagram from the 802.11 protocol documentation showing

  the CCMP-based cryptography circuit (such as used with WPA2) that is utilized in the Accused

  Products. The circuit shown encrypts both address (A2 – MPDU address 2) and data information

  (plaintext MPDU) by adding encryptions bits (temporal key (TK)) to both the address and data. The




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  cryptography circuit of the Accused Products is also configured to decrypt the encrypted address

  and data information.




         51.    Defendants also infringe the ’126 patent via products that utilize a volatile memory

  for storing cryptography information utilized in the cryptography circuit and a battery for

  maintaining the cryptography in the volatile memory. As shown in screenshots of videos posted on




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  YouTube by Resideo’s customer support, Resideo’s Lyric alarm system utilizes a battery that

  provides power to maintain data, including cryptographic information in the product’s internal

  (volatile) memory. Such cryptographic information allows data encryption to be carried out over a

  secure wireless 802.11 network.




  See How to replace the battery on a Lyric alarm system – Resideo, YOUTUBE,
  https://www.youtube.com/watch?v=4eF1uTkBrnc&ab_channel=ResideoCustomerSupport
  (showing screenshots at 0:17 and 1:24 in the video) (last visited Oct. 5, 2022).



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         52.     Furthermore, as shown below in pictures of a teardown of Resideo’s Lyric Smart

  Controller, the controller includes a Wi-Fi module that has an internal volatile memory for storing

  data, including cryptographic information.




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                                                COUNT I

                         (INFRINGEMENT OF U.S. PATENT NO. 7,224,678)

         53.       Plaintiff incorporates paragraphs 1 through 52 herein by reference.

         54.       Plaintiff is the assignee of the ’678 patent, entitled “Wireless local or metropolitan

  area network with intrusion detection features and related methods,” with ownership of all

  substantial rights in the ’678 patent, including the right to exclude others and to enforce, sue, and

  recover damages for past and future infringements.

         55.       The ’678 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’678 patent issued from U.S. Patent Application No.

  10/217,042.

         56.       Defendants have and continue to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’678 patent in this District and elsewhere in Texas and the

  United States.

         57.       On information and belief, Defendants design, develop, manufacture, import,

  distribute, offer to sell, sell, and use the Accused Products, including via the activities of Resideo

  and its subsidiaries, members, segments, companies, brands and/or related entities, such as

  Defendant Ademco and U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants.

         58.       Defendants each directly infringe the ’678 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or products

  containing the same that incorporate the fundamental technologies covered by the ’678 patent to,

  for example, its alter egos, agents, intermediaries, related entities, distributors, dealers, importers,

  customers, parent, subsidiaries, members, segments, companies, brands, resellers, dealers, OEMs,

  installers, and/or consumers. Furthermore, on information and belief, Defendants design the


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  Accused Products for U.S. consumers, make and sell the Accused Products outside of the United

  States, deliver those products to related entities, subsidiaries, online stores, distribution partners,

  retailers, showrooms, resellers, dealers, installers, customers and other related service providers in

  the United States, or in the case that it delivers the Accused Products outside of the United States it

  does so intending and/or knowing that those products are destined for the United States and/or

  designing those products for sale and use in the United States, thereby directly infringing the ’678

  patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell Semiconductor, Inc., 964 F.

  Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and allowing presentation to jury

  as to “whether accused products manufactured and delivered abroad but imported into the United

  States market by downstream customers … constitute an infringing sale under § 271(a)”).

         59.     Furthermore, Defendant Resideo directly infringes the ’678 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant Ademco,

  and other U.S.-based subsidiaries, members, segments, companies and/or brands of Defendant

  Resideo. Defendants design the Accused Products for U.S. consumers, sell and offer for sale those

  Accused Products in the U.S. directly and to its related entities, and import the Accused Products

  into the United States for its related entities. On information and belief, U.S.-based subsidiaries,

  including at least Ademco, conduct activities that constitute direct infringement of the ’678 patent

  under 35 U.S.C. § 271(a) by importing, offering for sale, selling, and/or using those Accused

  Products in the U.S. on behalf of and for the benefit of Defendants. Defendant Resideo is vicariously

  liable for the infringing conduct of Defendant Ademco and other U.S.-based subsidiaries, members,

  segments, companies and/or brands of Resideo (under both the alter ego and agency theories). On

  information and belief, Defendants Resideo, Ademco, and other U.S. based subsidiaries members,

  segments, companies and/or brands of Resideo are essentially the same company, comprising




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  members, segments, companies and/or brands of Resideo, including the “Products & Solutions”

  and “ADI Global Distribution” segments of Resideo. Moreover, Resideo, as the parent company,

  along with its related entities, has the right and ability to control the infringing activities of those

  subsidiary entities such that Defendants Resideo and Ademco receive a direct financial benefit from

  that infringement.

         60.     For example, Defendants infringe claim 51 of the ’678 patent via the Accused

  Products that utilize 802.11 (Wi-Fi) protocols, including, but not limited to Defendants’ infringing

  Accused Products that are enabled or compliant with Wi-Fi such as smart Wi-Fi connected and

  programmable thermostats and related kits, Wi-Fi security cameras, water leak & freeze detectors,

  Wi-Fi outdoor and indoor video cameras, video doorbells, security control panels and related

  accessories, including motion detectors, smoke detectors, communications modules, and related

  accessories and software applications.

         61.     Those Accused Products include “[a]n intrusion detection method for a wireless

  local or metropolitan area network comprising a plurality of stations” comprising the limitations of

  claim 51. The technology discussion above and the example Accused Products provide context for

  Plaintiff’s allegations that each of those limitations are met. For example, the Accused Products

  include the steps of transmitting data between the plurality of stations using a media access layer

  (MAC), each of the stations having a respective MAC address associated therewith; monitoring

  transmissions among the plurality of stations to detect failed attempts to authenticate MAC

  addresses; and generating an intrusion alert based upon detecting a number of failed attempts to

  authenticate a MAC address.

         62.     At a minimum, Defendants have known of the ’678 patent at least as early as the

  filing date of this complaint. In addition, Defendants have known about their infringement of Harris




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  Corporation’s (“Harris”) patent portfolio, which includes the ’678 patent, since at least its receipt

  of a letter from Acacia Research Corporation to Resideo, dated June 22, 2020. The letter notifies

  Resideo that its products practice the Wi-Fi technologies covered by the Stingray patent portfolio.

          63.     On information and belief, since at least the above-mentioned date when Defendants

  were on notice of their infringement, Defendants have each actively induced, under 35 U.S.C. §

  271(b), importers, online stores, distribution partners, retailers, reseller partners, dealers, installers,

  OEMs, consumers, and other related service providers that import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one or

  more claims of the ’678 patent to directly infringe one or more claims of the ’678 patent by using,

  offering for sale, selling, and/or importing the Accused Products. Since at least the date of notice

  provided above, Defendants each conduct infringing activities with knowledge, or with willful

  blindness of the fact, that the induced acts constitute infringement of the ’678 patent. On information

  and belief, Defendants each intend to cause, and have taken affirmative steps to induce,

  infringement by importers, online stores, distribution partners, retailers, reseller partners, dealers,

  OEMS, installers, consumers, and other related service providers through at least, inter alia, the

  following activities: creating advertisements that promote the infringing use of the Accused

  Products; creating and/or maintaining established distribution channels for the Accused Products

  into and within the United States; manufacturing the Accused Products in conformity with U.S.

  laws and regulations; distributing or making available instructions or manuals for these products to

  purchasers and prospective buyers; testing and certifying (with for example the Wi-Fi Alliance and

  the FCC) wireless networking features in the Accused Products, and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g.,

  Resideo Help & Support, RESIDEO, https://www.resideo.com/us/en/support/ (providing links where




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  consumers may access instructions for using Resideo’s products) (last visited Oct. 6, 2022).

  Furthermore, Defendants market and offer smartphone and tablet interfaces as application software

  (i.e., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, remote control of the Accused Products, and other services supporting

  use of the Accused Products. See, e.g., Applications for Your Connected Products, resideo,

  https://www.resideo.com/us/en/apps/ (providing to consumers a description of and links for

  downloading “the right app that works with your Honeywell Home and Resideo products”) (last

  visited Oct. 6, 2022); Access ADI Wherever You Go, ADI,                     A RESIDEO COMPANY,

  https://www.adiglobaldistribution.us/adi-app (providing to consumers links for downloading “the

  ADI app for the easiest, fastest, access to products, account information and more”) (last visited

  Oct. 6, 2022). Such compatibility provides convenience and added functionality that induces

  consumers to use the Defendants’ products, including via the smartphone and tablet Wi-Fi apps and

  other interfaces utilizing Wi-Fi protocols in networks with other third-party devices. Thus, these

  activities further infringe or induce infringement of the ’678 patent.

         64.     On information and belief, despite having knowledge of the ’678 patent and

  knowledge that it is directly and/or indirectly infringing one or more claims of the ’678 patent,

  Defendants have nevertheless continued their infringing conduct and disregarded an objectively

  high likelihood of infringement. Each of Defendants’ infringing activities relative to the ’678 patent

  have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously

  wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

  infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

  times the amount found or assessed.




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         65.       Plaintiff Stingray has been damaged as a result of Defendants’ infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an amount

  that adequately compensates Stingray for their infringements, which, by law, cannot be less than a

  reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                                COUNT II

                         (INFRINGEMENT OF U.S. PATENT NO. 7,440,572)

         66.       Plaintiff incorporates paragraphs 1 through 65 herein by reference.

         67.       Plaintiff is the assignee of the ’572 patent, entitled “Secure wireless LAN device and

  associated methods,” with ownership of all substantial rights in the ’572 patent, including the right

  to exclude others and to enforce, sue, and recover damages for past and future infringements.

         68.       The ’572 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’572 patent issued from U.S. Patent Application No.

  09/760,619.

         69.       Defendants have and continue to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’572 patent in this District and elsewhere in Texas and the

  United States.

         70.       On information and belief, Defendants design, develop, manufacture, import,

  distribute, offer to sell, sell, and use the Accused Products, including via the activities of Resideo

  and its subsidiaries, members, segments, companies, brands and/or related entities, such as

  Defendant Ademco and U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants.

         71.       Defendants each directly infringe the ’572 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or products

  containing the same that incorporate the fundamental technologies covered by the ’572 patent to,


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  for example, its alter egos, agents, intermediaries, related entities, distributors, dealers, importers,

  customers, parent, subsidiaries, members, segments, companies, brands, resellers, dealers, OEMs,

  installers, and/or consumers. Furthermore, on information and belief, Defendants design the

  Accused Products for U.S. consumers, make and sell the Accused Products outside of the United

  States, deliver those products to related entities, subsidiaries, online stores, distribution partners,

  retailers, showrooms, resellers, dealers, installers, customers and other related service providers in

  the United States, or in the case that it delivers the Accused Products outside of the United States it

  does so intending and/or knowing that those products are destined for the United States and/or

  designing those products for sale and use in the United States, thereby directly infringing the ’572

  patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell Semiconductor, Inc., 964 F.

  Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and allowing presentation to jury

  as to “whether accused products manufactured and delivered abroad but imported into the United

  States market by downstream customers … constitute an infringing sale under § 271(a)”).

         72.     Furthermore, Defendant Resideo directly infringes the ’572 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant Ademco,

  and other U.S.-based subsidiaries, members, segments, companies and/or brands of Defendant

  Resideo. Defendants design the Accused Products for U.S. consumers, sell and offer for sale those

  Accused Products in the U.S. directly and to its related entities, and import the Accused Products

  into the United States for its related entities. On information and belief, U.S.-based subsidiaries,

  including at least Ademco, conduct activities that constitute direct infringement of the ’572 patent

  under 35 U.S.C. § 271(a) by importing, offering for sale, selling, and/or using those Accused

  Products in the U.S. on behalf of and for the benefit of Defendants. Defendant Resideo is vicariously

  liable for the infringing conduct of Defendant Ademco and other U.S.-based subsidiaries, members,




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  segments, companies and/or brands of Resideo (under both the alter ego and agency theories). On

  information and belief, Defendants Resideo, Ademco, and other U.S. based subsidiaries members,

  segments, companies and/or brands of Resideo are essentially the same company, comprising

  members, segments, companies and/or brands of Resideo, including the “Products & Solutions”

  and “ADI Global Distribution” segments of Resideo. Moreover, Resideo, as the parent company,

  along with its related entities, has the right and ability to control the infringing activities of those

  subsidiary entities such that Defendants Resideo and Ademco receive a direct financial benefit from

  that infringement.

         73.     For example, Defendants infringe claim 1 of the ’572 patent via the Accused

  Products that utilize 802.11 (Wi-Fi) protocols, including, but not limited to Defendants’ infringing

  Accused Products that are enabled or compliant with Wi-Fi such as smart Wi-Fi connected and

  programmable thermostats and related kits, Wi-Fi security cameras, water leak & freeze detectors,

  Wi-Fi outdoor and indoor video cameras, video doorbells, security control panels and related

  accessories, including motion detectors, smoke detectors, communications modules, and related

  accessories and software applications.

         74.     Those Accused Products include “[a] secure wireless local area network (LAN)

  device” comprising the limitations of claim 1. The technology discussion above and the example

  Accused Products provide context for Plaintiff’s allegations that each of those limitations are met.

  For example, the Accused Products include a housing; a wireless transceiver carried by said

  housing; a medium access controller (MAC) carried by said housing; and a cryptography circuit

  carried by said housing and connected to said MAC and said wireless transceiver for encrypting

  both address and data information for transmission by at least adding a plurality of encrypting bits




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  to both the address and the data information, and for decrypting both the address and the data

  information upon reception.

          75.     At a minimum, Defendants have known of the ’572 patent at least as early as the

  filing date of this complaint. In addition, Defendants have known about their infringement of Harris

  Corporation’s (“Harris”) patent portfolio, which includes the ’572 patent, since at least its receipt

  of a letter from Acacia Research Corporation to Resideo, dated June 22, 2020. The letter notifies

  Resideo that its products practice the Wi-Fi technologies covered by the Stingray patent portfolio.

          76.     On information and belief, since at least the above-mentioned date when Defendants

  were on notice of their infringement, Defendants have each actively induced, under 35 U.S.C. §

  271(b), importers, online stores, distribution partners, retailers, reseller partners, dealers, installers,

  OEMs, consumers, and other related service providers that import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one or

  more claims of the ’572 patent to directly infringe one or more claims of the ’572 patent by using,

  offering for sale, selling, and/or importing the Accused Products. Since at least the date of notice

  provided above, Defendants each conduct infringing activities with knowledge, or with willful

  blindness of the fact, that the induced acts constitute infringement of the ’572 patent. On information

  and belief, Defendants each intend to cause, and have taken affirmative steps to induce,

  infringement by importers, online stores, distribution partners, retailers, reseller partners, dealers,

  OEMS, installers, consumers, and other related service providers through at least, inter alia, the

  following activities: creating advertisements that promote the infringing use of the Accused

  Products; creating and/or maintaining established distribution channels for the Accused Products

  into and within the United States; manufacturing the Accused Products in conformity with U.S.

  laws and regulations; distributing or making available instructions or manuals for these products to




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  purchasers and prospective buyers; testing and certifying (with for example the Wi-Fi Alliance and

  the FCC) wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g.,

  Resideo Help & Support, RESIDEO, https://www.resideo.com/us/en/support/ (providing links where

  consumers may access instructions for using Resideo’s products) (last visited Oct. 6, 2022).

  Furthermore, Defendants market and offer smartphone and tablet interfaces as application software

  (i.e., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, remote control of the Accused Products, and other services supporting

  use of the Accused Products. See, e.g., Applications for Your Connected Products, resideo,

  https://www.resideo.com/us/en/apps/ (providing to consumers a description of and links for

  downloading “the right app that works with your Honeywell Home and Resideo products”) (last

  visited Oct. 6, 2022); Access ADI Wherever You Go, ADI,                     A RESIDEO COMPANY,

  https://www.adiglobaldistribution.us/adi-app (providing to consumers links for downloading “the

  ADI app for the easiest, fastest, access to products, account information and more”) (last visited

  Oct. 6, 2022). Such compatibility provides convenience and added functionality that induces

  consumers to use the Defendants’ products, including via the smartphone and tablet Wi-Fi apps and

  other interfaces utilizing Wi-Fi protocols in networks with other third-party devices. Thus, these

  activities further infringe or induce infringement of the ’572 patent.

         77.     On information and belief, despite having knowledge of the ’572 patent and

  knowledge that it is directly and/or indirectly infringing one or more claims of the ’572 patent,

  Defendants have nevertheless continued their infringing conduct and disregarded an objectively

  high likelihood of infringement. Each of Defendants’ infringing activities relative to the ’572 patent

  have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously




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  wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

  infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

  times the amount found or assessed.

         78.       Plaintiff Stingray has been damaged as a result of Defendants’ infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an amount

  that adequately compensates Stingray for their infringements, which, by law, cannot be less than a

  reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                              COUNT III

                         (INFRINGEMENT OF U.S. PATENT NO. 7,441,126)
         79.       Plaintiff incorporates paragraphs 1 through 78 herein by reference.

         80.       Plaintiff is the assignee of the ’126 patent, entitled “Secure wireless LAN device

  including tamper resistant feature and associated method,” with ownership of all substantial rights

  in the ’126 patent, including the right to exclude others and to enforce, sue, and recover damages

  for past and future infringements

         81.       The ’126 patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code. The ’126 patent issued from U.S. Patent Application No.

  09/761,173 filed on January 16, 2001.

         82.       Defendants have and continue to directly and/or indirectly infringe (by inducing

  infringement) one or more claims of the ’126 patent in this District and elsewhere in Texas and the

  United States.

         83.       On information and belief, Defendants design, develop, manufacture, import,

  distribute, offer to sell, sell, and use the Accused Products, including via the activities of Resideo

  and its subsidiaries, members, segments, companies, brands and/or related entities, such as




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  Defendant Ademco and U.S.-based subsidiaries, members, segments, companies and/or brands of

  Defendants.

         84.     Defendants each directly infringe the ’126 patent via 35 U.S.C. § 271(a) by making,

  offering for sale, selling, and/or importing the Accused Products, their components, and/or products

  containing the same that incorporate the fundamental technologies covered by the ’126 patent to,

  for example, its alter egos, agents, intermediaries, related entities, distributors, dealers, importers,

  customers, parent, subsidiaries, members, segments, companies, brands, resellers, dealers, OEMs,

  installers, and/or consumers. Furthermore, on information and belief, Defendants design the

  Accused Products for U.S. consumers, make and sell the Accused Products outside of the United

  States, deliver those products to related entities, subsidiaries, online stores, distribution partners,

  retailers, showrooms, resellers, dealers, installers, customers and other related service providers in

  the United States, or in the case that it delivers the Accused Products outside of the United States it

  does so intending and/or knowing that those products are destined for the United States and/or

  designing those products for sale and use in the United States, thereby directly infringing the ’126

  patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell Semiconductor, Inc., 964 F.

  Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and allowing presentation to jury

  as to “whether accused products manufactured and delivered abroad but imported into the United

  States market by downstream customers … constitute an infringing sale under § 271(a)”).

         85.     Furthermore, Defendant Resideo directly infringes the ’126 patent through its direct

  involvement in the activities of its subsidiaries, and related entities, including Defendant Ademco,

  and other U.S.-based subsidiaries, members, segments, companies and/or brands of Defendant

  Resideo. Defendants design the Accused Products for U.S. consumers, sell and offer for sale those

  Accused Products in the U.S. directly and to its related entities, and import the Accused Products




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  into the United States for its related entities. On information and belief, U.S.-based subsidiaries,

  including at least Ademco, conduct activities that constitute direct infringement of the ’126 patent

  under 35 U.S.C. § 271(a) by importing, offering for sale, selling, and/or using those Accused

  Products in the U.S. on behalf of and for the benefit of Defendants. Defendant Resideo is vicariously

  liable for the infringing conduct of Defendant Ademco and other U.S.-based subsidiaries, members,

  segments, companies and/or brands of Resideo (under both the alter ego and agency theories). On

  information and belief, Defendants Resideo, Ademco, and other U.S. based subsidiaries members,

  segments, companies and/or brands of Resideo are essentially the same company, comprising

  members, segments, companies and/or brands of Resideo, including the “Products & Solutions”

  and “ADI Global Distribution” segments of Resideo. Moreover, Resideo, as the parent company,

  along with its related entities, has the right and ability to control the infringing activities of those

  subsidiary entities such that Defendants Resideo and Ademco receive a direct financial benefit from

  that infringement.

         86.     For example, Defendants infringe claim 1 of the ’126 patent via the Accused

  Products that utilize 802.11 (Wi-Fi) protocols, including, but not limited to Defendants’ infringing

  Accused Products that are enabled or compliant with Wi-Fi and that utilize a battery and a volatile

  memory for the storage of device data, including cryptographic data. Such Accused Products

  include, but are not limited to, security control panels and keypads (e.g., LCP500-L LYRIC®

  Controller and LKP500-EN LYRIC® Keypad) and water lead & freeze detectors (e.g., the Resideo

  Wi-Fi Water Leak & Freeze Detector).

         87.     Those Accused Products include “[a] secure wireless local area network (LAN)

  device” comprising the limitations of claim 1. The technology discussion above and the example

  Accused Products provide context for Plaintiff’s allegations that each of those limitations are met.




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  For example, the Accused Products include a housing; a wireless transceiver carried by said

  housing; a media access controller (MAC) carried by said housing; and a cryptography circuit

  carried by said housing and connected to said MAC and said wireless transceiver, said cryptography

  circuit comprising at least one volatile memory for storing the cryptography information, and a

  battery for maintaining the cryptography information in said at least one volatile memory.

          88.     At a minimum, Defendants have known of the ’126 patent at least as early as the

  filing date of this complaint. In addition, Defendants have known about their infringement of Harris

  Corporation’s (“Harris”) patent portfolio, which includes the ’126 patent, since at least its receipt

  of a letter from Acacia Research Corporation to Resideo, dated June 22, 2020. The letter notifies

  Resideo that its products practice the Wi-Fi technologies covered by the Stingray patent portfolio.

  The letter also references prior notice provided by North Forty Consultants “on behalf of L3Harris.”

          89.     On information and belief, since at least the above-mentioned date when Defendants

  were on notice of their infringement, Defendants have each actively induced, under 35 U.S.C. §

  271(b), importers, online stores, distribution partners, retailers, reseller partners, dealers, installers,

  OEMs, consumers, and other related service providers that import, distribute, purchase, offer for

  sale, sell, or use the Accused Products that include or are made using all of the limitations of one or

  more claims of the ’126 patent to directly infringe one or more claims of the ’126 patent by using,

  offering for sale, selling, and/or importing the Accused Products. Since at least the date of notice

  provided above, Defendants each conduct infringing activities with knowledge, or with willful

  blindness of the fact, that the induced acts constitute infringement of the ’126 patent. On information

  and belief, Defendants each intend to cause, and have taken affirmative steps to induce,

  infringement by importers, online stores, distribution partners, retailers, reseller partners, dealers,

  OEMS, installers, consumers, and other related service providers through at least, inter alia, the




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  following activities: creating advertisements that promote the infringing use of the Accused

  Products; creating and/or maintaining established distribution channels for the Accused Products

  into and within the United States; manufacturing the Accused Products in conformity with U.S.

  laws and regulations; distributing or making available instructions or manuals for these products to

  purchasers and prospective buyers; testing and certifying (with for example the Wi-Fi Alliance and

  the FCC) wireless networking features in the Accused Products; and providing technical support,

  replacement parts, or services for these products to purchasers in the United States. See, e.g.,

  Resideo Help & Support, RESIDEO, https://www.resideo.com/us/en/support/ (providing links where

  consumers may access instructions for using Resideo’s products) (last visited Oct. 6, 2022).

  Furthermore, Defendants market and offer smartphone and tablet interfaces as application software

  (i.e., apps) to provide access to the Accused Products, connect such products to wireless networks,

  including Wi-Fi networks, remote control of the Accused Products, and other services supporting

  use of the Accused Products. See, e.g., Applications for Your Connected Products, resideo,

  https://www.resideo.com/us/en/apps/ (providing to consumers a description of and links for

  downloading “the right app that works with your Honeywell Home and Resideo products”) (last

  visited Oct. 6, 2022); Access ADI Wherever You Go, ADI,                    A RESIDEO COMPANY,

  https://www.adiglobaldistribution.us/adi-app (providing to consumers links for downloading “the

  ADI app for the easiest, fastest, access to products, account information and more”) (last visited

  Oct. 6, 2022). Such compatibility provides convenience and added functionality that induces

  consumers to use the Defendants’ products, including via the smartphone and tablet Wi-Fi apps and

  other interfaces utilizing Wi-Fi protocols in networks with other third-party devices. Thus, these

  activities further infringe or induce infringement of the ’126 patent.




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         90.     On information and belief, despite having knowledge of the ’126 patent and

  knowledge that it is directly and/or indirectly infringing one or more claims of the ’126 patent,

  Defendants have nevertheless continued their infringing conduct and disregarded an objectively

  high likelihood of infringement. Each of Defendants’ infringing activities relative to the ’126 patent

  have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously

  wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

  infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

  times the amount found or assessed.

         91.     Plaintiff Stingray has been damaged as a result of Defendants’ infringing conduct

  described in this Count. Each Defendant is thus jointly and severally liable to Stingray in an amount

  that adequately compensates Stingray for their infringements, which, by law, cannot be less than a

  reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            CONCLUSION

         92.     Plaintiff is entitled to recover from Defendants the damages sustained by Plaintiff

  as a result of Defendants’ wrongful acts in an amount subject to proof at trial, which, by law, cannot

  be less than a reasonable royalty, together with interest and costs as fixed by this Court.

         93.     Plaintiff has incurred and will incur attorneys’ fees, costs, and expenses in the

  prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

  within the meaning of 35 U.S.C. § 285, and Plaintiff is entitled to recover its reasonable and

  necessary attorneys’ fees, costs, and expenses.

                                           JURY DEMAND

         94.     Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules

  of Civil Procedure.




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                                        PRAYER FOR RELIEF
         95.     Plaintiff requests that the Court find in its favor and against Defendants, and that

  the Court grant Plaintiff the following relief:

          A.     A judgment that Defendants have infringed the Asserted Patents as alleged herein,

                 directly and/or indirectly by way of inducing infringement of such patents;

          B.     A judgment for an accounting of damages sustained by Plaintiff as a result of the

                 acts of infringement by Defendants;

          C.     A judgment and order requiring Defendants to pay Plaintiff damages under 35

                 U.S.C. § 284, including up to treble damages as provided by 35 U.S.C. § 284, and

                 any royalties determined to be appropriate;

          D.     A judgment and order requiring Defendants to pay Plaintiff pre-judgment and post-

                 judgment interest on the damages awarded;

          E.     A judgment and order finding this to be an exceptional case and requiring

                 Defendants to pay the costs of this action (including all disbursements) and

                 attorneys’ fees as provided by 35 U.S.C. § 285; and

          F.     Such other and further relief as the Court deems just and equitable.




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   Dated: December 20, 2022               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing PLAINTIFF’S FIRST AMENDED

  COMPLAINT FOR PATENT INFRINGEMENT was filed electronically in compliance with

  Local Rule CV-5(a). Therefore, this document was served on all counsel who are deemed to have

  consented to electronic service on December 20, 2022.

                                                           /s/ Marcus Benavides
                                                           MARCUS BENAVIDES




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